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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :
                                              :     Case No: 21-CR-526 (TSC)
                                              :
JEFFERY FINLEY,                               :
                                              :
               Defendant.                     :
                                              :


                JOINT MOTION TO CONTINUE THE STATUS HEARING

       The United States of America, by and through the United States Attorney for the District

of Columbia, and Defendant Jeffery Finley (“Finley”), by and through his counsel, respectfully

move the Court for an Order to continue the status hearing scheduled for February 7, 2022, and to

Exclude Time Pursuant to the Speedy Trial Act under 18 U.S.C. § 3161, from February 7, 2022,

until the next status hearing in this case to be scheduled. In support of their Joint Motion, the

Parties state as follows:

       1.      On March 21, 2021, Finley was arrested on criminal complaint on violations of 18

U.S.C. §§ 1752(a)(1) and (2), and 40 U.S.C. §§ 5104(e)(2)(D) and (G) for his conduct in and

around the U.S. Capitol on January 6, 2021.

       2.      On August 18, 2021, Finley was charged by Information (ECF 25) that charged

Finley with violations of 18 U.S.C. §§ 1752(a)(1) and (2), and 40 U.S.C. §§ 5104(e)(2)(D) and

(G) for his conduct in and around the U.S. Capitol on January 6, 2021.

       3.      On August 25, 2021, Finley was arraigned before Judge Tanya S. Chutkan on

Counts 1 – 4 of the Information, and Finley entered a plea of Not Guilty. Based on the

representations made during the hearing, and for good cause shown, the Court found that in the
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interest of justice that the time between August 18, 2021 and October 29, 2021, shall be excluded

from the speedy trial calculation.

       4.      The parties previously filed motions to continue the status conferences that had

been set for October 29, 2021, and November 19, 2021. Since the parties’ last joint filing on

January 11, 2022, the government has made additional discovery productions, and counsel for the

parties have continued to engage in communications by phone and email. The parties have

discussed and agree that the status conference set for February 7, 2022, should be continued until

on or after Friday, February 23, 2022. Such a continuance will provide the Parties with additional

time to engage in the review of discovery and continued discussions about the case.

       5.      The Parties have discussed and further agree that the interests of justice are best

served by the exclusion of time under the Speedy Trial Act until the next status conference can be

scheduled. Such period will allow the Parties additional time to engage in discovery and continued

discussions about the case and will allow the parties additional time to prepare.



                                                  Respectfully submitted,

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                                                 D.C. Bar No. 481052

                                        By:       /s/ Jason McCullough
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Dated: February 4, 2022
